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Rev. l "§>7 CRIMINAL COMPLAINT
H L UNFTED STATES DISTRICT COURT CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA ]XWKFFNO-
v.
LUIS RICARDO RODRIGUEZ MAGISTRATE ' S CASE NO-
013- Of
Complaint for violation of Title 18, United States Code, Section 879
NAME OF MAGISTRATE JUDGE [HJITEIJ qu¥yES LocATIoN
ViCtOr B- K€Ht@n MAGISTRATE JUDGE
DATE OF OFFENSE PLACE OF OFFENSE ADDRESS OF AccUSED (IF KNOWN)
23701 S. WeStern AVe, #104
May 19 2012 Los Angeles County Torrance, California

 

 

 

[18 U.S.c. § 879]

On May 19, 2012, LUIS RICARDO RODRIGUEZ, did knowingly and Willfully threaten
to kill and inflict bodily harm upon a member of the immediate family of a
former President of the United States, in violation of 18 U.S.C. § 879.

 

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CL§BJ<`gr§:_‘§>i§:®g:§,@lm

 

AU§Z£§ZUS

 

 

 

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UtFUlY

 

BASIS OF COMPLAINANT'S CHARGE AGAINST THE ACCUSED:
(See attached affidavit which is incorporated as part of this Complaint)

MATERIAL WITNESSES IN RELATION TO 'I`HIS CHARGE:

 

Being duly Sworn, I declare that the SIGNATURE OF COMPLAINANT
foregoing is true and correct to the
best of my knowledge.

 

oFFIcIAL TITLE
SA Jay C. Huang
United States Secret Service

 

 

Sworn to before me and Subscribed in my presence,

 

SIGNATURE OF MAGISTRATE JUDGE(l) DATE

WCWRBJUNWN

 

August __, 2013

 

 

l) See Federal Rules of Criminal Procedure rules 3 and 54.

AUSA cLS=seCA;F

 

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AFFIDAVIT

l, J ay C. Huang, being duly sworn, depose and state:

I. 'INTRODUCTION
l. I am employed as a Special Agent (“SA”) With the United States Secret Service

(“USSS”) and have been So employed since 2004. During such employment Ihave investigated
numerous cases involving criminal threats to' kill, injure, obstruct, impede, and intimidate
individuals protected by the USSS, to include President Barack Obama and his immediate
family, and former Presidents and their immediate families Since December of 2012, l have
been assigned to the Federal Bureau of Investigation (“FBI”) - Joint Terrorism Task Force,

Which authorizes me to investigate threats pertaining to national security.

II. PURPOSE OF AFFIDAVIT

2. This affidavit is made in support of an arrest Warrant and criminal complaint
charging LUIS RICARDO RGDRIGUEZ (“RODRIGUEZ”) With a violation of Title 18, United
States Code, Section 879, knowingly and Willfully threatening to kill or inflict bodily harm upon
a former President or immediate family member of the President or of any former President.

3. Additionally, this affidavit is made in support of a search Warrant for
RODRIGUEZ’s residence, 23 701 S. Western Avenue, Space #104, Torrance, California
(“SUBJECT PREl\/HSES”; described in detail in below and in Attachment A) for the items to be
seized (described in Attaehment B) Which are evidence of violations of Title 18, United States
Code, Section 871 (knowingly and Willfully making any threat to kill or inflict bodily harm
upon the President) , Section 879 (knowingly and Willfully threatening,to kill or inflict bodily
harm upon a former President or immediate family member of the President or of any former
President), Section 875(0) (transmitting in interstate commerce any communication containing

any threat to injure a person), Section 1751 (attempting or conspiring to kill or assault the

 

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President), Section 373 (~solicitation to commit a crime of violence), Section 1114 (killing or
attempting to kill an officer or employee of the United States), and Section ll§(a)(l)(A)
(threatening to assault or murder a federal law enforcement officer, or officer employed by the
United States).

4. The facts set forth in this affidavit are based upon my personal involvement in this
investigation, my training and experience, my review of relevant evidence, and information
f obtained from other law enforcement officers This affidavit is intended to show merely that
there is sufficient probable cause for the requested warrant and does not purport to set forth all of
my knowledge of or investigation into this matter. Unless specifically indicated otherwise, all
conversations and statements described in this affidavit are related in substance and in part only.

III. TRAINING AND EXPERIENCE

A. ' USSS Training and E‘xperience

5. In November 2004, l completed the USSS Special Agent Training Program in
Beltsville, l\/iaryland. This consisted of training on protective intelligence and threat assessment
investigations During my training, l was provided instruction related to individuals who have
attacked or attempted to attack prominent public officials and prominent figures From this
instruction and other readings of studies during my career, l know the majority of assassins and
near~lethal attackers were known to have spoken or written in a manner suggesting that they
were considering an attack Typically, the would-be attackers often Wrote down their ideas in
journals or diaries, which they kept at their residences

6. l have been involved in over thirty investigations and assessments of persons who
exhibited threatening or inappropriate interest in the President of the United States and family,

and Former Presidents of the United States and family. l know from my training and experience

 

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that individuals in the past would write down their ideas or threats However, in recent years, l
know that many of the threats are composed by using computers and communicated through
emails or other internet-based forms of communication, such as public online fora or social
media In some cases, the authors of these threats will print out and retain the messages in lieu
of writing them down; in other cases, they may retain digital copies

B. Training and Experience on Digital Devices

7. As used herein, the term “digital device” includes any,electronic system or device
capable of storing or processing data in digital form, including central processing units; desktop,
laptop, notebook, and tablet computers; personal digital assistants; wireless communication
devices, such as telephone paging devices, beepers, mobile telephones and smart phones; digital
cameras; peripheral input/output devices, such as keyboards, printers, scanners, plotters,
monitors, and drives intended for removable media; related communications devices, such as
modems, routers, cables, and connections; storage media, such as hard disk drives, floppy disks,
memory cards, optical disks, and magnetic tapes used to store digital data (excluding analog
tapes such as VHS); and security devices Based on my knowledge, training, and experience, as
well as information related to me by agents and others involved in the forensic examination of
digital devices, l know that data in digital form can be stored on a variety of digital devices and
that during the search of a premises it is not always possible to search digital devices for digital
data for a number of reasons, including the following:

a. l Searching digital devices can be a highly technical process that requires
specific expertise and specialized equipment There are so many types of digital devices and
software programs in use today that it is impossible to bring to the search site all of the necessary

technical manuals and specialized equipment necessary to conduct a thorough search. In

 

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addition, it may be necessary to consult with specially trained personnel Who have specific

expertise in the types of digital devices, operating systems, orsoftware applications that are

being searched.

b. Digital data is particularly vulnerable to inadvertent or intentional
modification or destruction Searching digital devices can require the use of precise, scientific
procedures that are designed to maintain the integrity of digital data and to recover “hidden,”
erased, compressed, encrypted, or password~protected data. As a result, a controlled
environment such as a law enforcement laboratory or similar facility, is essential to conducting a
complete and accurate analysis of data stored on digital devices

c. The volume of data stored on many digital devices Will typically be so
large that it will be highly impractical to search for data during the physical search of the
premises A single megabyte of storage space is the equivalent of 500 double-spaced pages of
text. A single gigabyte of storage space, or 1,000 megabytes, is the equivalent of 500,000
double-spaced pages of text. Storage devices capable of storing 500 or more gigabytes are now
commonplace Consequently, just one device might contain the equivalent of 250 million pages
of data, which, if printed out, would completely fill three 35’ x 35’ x 10’ rooms to the ceiling

Further, a 500 gigabyte drive could contain as many as approximately 450 full run movies or

450,000 songs

d. Electronic files or remnants of such files can be recovered months or even
years after they have been downloaded onto a hard drive, deleted, or viewed via the Internet.
Electronic files saved to a hard drive can be stored for years with little or no cost. Even when
such files have been deleted, they can be recovered months or years later using readily~available

forensics tools Normally, when a person deletes a file on a computer, the data contained in the

 

 

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file does not actually disappear; rather, that data remains on the hard drive until it is overwritten
by new data. Therefore, deleted files, or remnants of deleted files, may reside in free space or
slack space, i.e., space on a hard drive that is not allocated to an active file or that is unused after
a file has been allocated to a set block of storage space, for long periods of time before they are
overwritten. In addition, a computer’s operating system may also keep a record of deleted data
in a swap or recovery file. Similarly, files that have been viewed on the Internet are often
automatically downloaded into a temporary directory or cache. The browser typically maintains
a fixed amount of hard drive space devoted to these files, and the files are only overwritten as
they are replaced with more recently downloaded or viewed content Thus, the ability to retrieve
residue of an electronic file from a hard drive depends less on when the file was downloaded or
Viewed than on a particular user’s operating system, storage capacity, and computer habits
Recovery of residue of electronic files from a hard drive requires specialized tools and a
controlled laboratory environment Recovery also can require substantial time.

e. Altho`ugh some of the records called for by this warrant might be found in
the form of user-generated documents (such as word processing, picture, and movie files), digital
devices can contain other forms of electronic evidence as well. ln particular, records of how a
digital device has been used, what it has been used for, who has used it, and who has been
responsible for creating or maintaining records, documents programs, applications and materials
contained on the digital devices are, as described further in the attachments called for by this
warrant Those records will not always be found in digital data that is neatly segregable from the
hard drive image as a whole. Digital data on the hard drive not currently associated with any file
can provide evidence of a file that was once on the hard drive but has since been deleted or

edited, or of a deleted portion of a file (such as a paragraph that has been deleted from a word

 

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processing file). Virtual memory paging systems can leave`digital» data on the hard drive that
show what tasks and processes on the computer were recently used. Web browsers, email
programs, and chat programs often store configuration data on the hard drive that can reveal
information such as online nicknames and passwords. Operating Systems can record additional
data, such as the attachment of peripherals, the attachment of USB flash storage devices, and the
times the computer was in use. Computer file systems can record data about the dates files were
created and the sequence in which they were created. This data can be evidence of a crime,
indicate the identity of the user of the digital device, or point toward the existence of evidence in
other locations Recovery of this data requires specialized tools and a controlled laboratory
environment and also can require substantial time.

f. Further, evidence of how a digital device has been used, what it has been
used for, and who has used it may be the absence of particular data on a digital device. For
example, to rebut a claim that the owner of a digital device was not responsible for a particular
use because the device was being controlled remotely by malicious software, it may be necessary
to show that malicious software that allows someone else to control the digital device remotely is
not present on the digital device. Evidence of the absence of particular data on a digital device is
not segregable from the digital device. Analysis of the digital device as a whole to demonstrate
the absence of particular data requires specialized tools and a controlled laboratory environment
and can require substantial time.

IV. PREMISES TO BE SEARCHED
8. The premises to be searched is described as follows:
a. SUBJECT PREl\/IISES: 23701 S. Western Avenue, Space #1041,

Torrance, California 905 01; including any closets, offices, and storage structures on that property

 

 

 

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associated with SUBJECT PREMISES. SUBJECT PREMISES is a manufactured single story
mobile home found within the “Knolls Lodge” Trailer Park on Avenue C. Exterior of SUBJECT
PREMISES is tan in color with brown trim. There is a white mailbox located at the
southeast corner of SUBJECT PREl\/HSES. The space number “104” is white in color and is
painted on the roadway on the east side of SUBJECT PREMISES. There are two entrances, each
located on the south side of SUBJECT PREl\/HSES, and both face south into the attached
carport. The main entrance, located on the southeast side of SUBJECT PREMISES, consists of
an approximate six foot wide sliding glass door with white vertical blinds hanging on the interior
side of the door. The secondary entrance is located on the southwest side of SUBJECT
PREMISES and consists of a tan colored metal door with a dead bolt lock. There is a detached
storage shed located at the west end of the attached carport; adjacent to the secondary entrance of
SUBJECT PREMISES. The storage shed is reddish and brown in color and is approximately
eight feet high.
V. SUMMARY OF PROBABLE CAUSE

9. ln l\/lay of 2012, RODRIGUEZ sent emails to President Obama’s campaign
headquarters and the Clinton Foundation containing threats and other menacing statements
toward the following individuals President Barack Obama (“Obama”) and his family, Former
President George W. Bush (“Bush”), Former President William Clinton (“Clinton”), Former
First Lady Hillary Clinton, and Former President Clinton’s daughter, Chelsea Clinton.

10. Also in l\/lay of 2012, RODRIGUEZ sent emails to the embassies of Syria,

Pakistan, lraq, and Lebanon; he also sent very similar emails to email accounts maintained on

 

 

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behalf of Hamasl and Hezbollahz, both designated as Foreign Terrorist Organization (“FTO’s”).
In all of these emails, RODRIGUEZ encouraged these entities to kill many of the above-listed
individuals and to attack the United States in other ways RODRIGUEZ threatened to personally
send anthrax3 and letter bombs through the mail system, and encouraged these entities to use
poison, bombs, polonium (a highly‘radioactive element), and VX gas (a toxic nerve agent)
against the above-mentioned targets

11. From November 2012 to l\/Iay 2013, an FBI Employee (“FBI Employee #l”) and
RODRIGUEZ engaged in email correspondence The content of the emails sent by
RODRIGUEZ to FBI Employee #l is consistent with those he sent to President Obama’s
Campaign Headquarters, the Clinton Foundation, and the foreign entities in May 2012.
RODRIGUEZ expressed to FBI Employee #l on numerous occasions his desire to incite
terrorists to attack the United States, Obama and his family, Clinton and his family, and Bush
and his family, and to assist them in doing so. Furthermore, through the email correspondence,
RODRIGUEZ advised FBl Employee #1 that he conducted reconnaissance and prepared attack
plans on numerous targets throughout the Los Angeles area. As described below, RODRIGUEZ
also arranged through FBI Employee #1 to meet with another FBI employee (“FBI Employee v

#2”), who he believed was an individual interested in conducting violent attacks in the United

 

l Harnas was established in late 1987 as an outgrowth of the Palestinian branch of the Muslim
Brotherhood. lt is a Palestinian terrorist organization located primarily in the West Bank and Gaza Strip

which advocates the destruction of lsrael.

2 Hezbollah is an Islamic terrorist organization established in 1982 that seeks the destruction of Israel and
the establishment of an lslamic State encompassing both Lebanon and lsrael. The full name ofHezbollah

is “Hezbollah, the lslamic Resistance in Lebanon.”

3 Presumably, the bacterium: anthrax is an infectious lethal disease caused by the bacterium Bacillus
anthracis.

 

 

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States. In his interactions with FBI Employee #2, RODRIGUEZ discussed locations in the Los
Angeles area that he believed would be good targets for such an attack.

VI. PROBABLE CAUSE

C. Background on RODRIGUEZ

12. RODRIGUEZ is a United States citizen born in 1963, in Cuba. He currently
resides in Torrance, California

13. RODRIGUEZ enrolled at the University of California, Los Angeles (UCLA) in
the summer term of 1984 and last took courses during the winter term of 1997. RODRIGUEZ
completed 252 credits, primarily in chemistry, physics, and Soviet/Russian studies

14. According to Los Angeles County Dep‘artment of Mental Health (“LACDMH”)

l workers who have examined RODRIGUEZ or are familiar with information about
'RODRIGUEZ, RODRIGUEZ has been diagnosed with schizophrenia and bi~polar disorder and
suffers from delusions According to the mental health workers, RODRIGUEZ’s delusions are
held as deep convictions and are nearly impossible to be changed or swayed. The mental health
workers explained that RODRIGUEZ’s deep hatred for Clinton is unlikely to diminish and he is
and will remain convinced that Bill and Hillary Clinton are responsible for his dismissal from his
employment at the Harbor-UCLA l\/ledical Center.

15. The LACDMH mental health workers believe that despite RODRIGUEZ’s mental
illness, RODRIGUEZ is able to care for himself, make and execute plans, and function
independently without any assistance other than financial welfare Furthermore, another mental
health worker who is familiar with RODRIGUEZ's mental illness history and who has
personally interviewed RODRIGUEZ believes RGDRIGUEZ is motivated to and capable of

carrying out a violent attack, were an opportunity to do so to present itself.

 

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16. Based on my training and experience as a USSS SA, coupled with the above
information, l believe the fact that RODRIGUEZ suffers from mental illnesses does not diminish
him as a threat nor prevent him from inciting and carrying out attacks4
»D. Threatening Communications to Protected Persons

17. On lurie 5 , 2012, USSS Protective Intelligence Research Specialist (PIRS)
Stephanie Phillips, based in Washington, D.C., contacted the USSS Los Angeles Field Office
(LAFO) regarding RODRIGUEZ. PIRS Phillips advised that RODRIGUEZ had sent several
emails to President Obama’s Campaign Headquarters containing threats against Obama and
family, Bush, and Clinton and family.

18. One of the emails acquired by the USSS indicated that on May 10, 2012, an email
was sent from the email address rodriguez.iscooter@gmail.com (“Subj ect Account 1”) to
info@barackobama.com5 (“Obama Campaign”). Documents that l reviewed from Google lnc.
indicated the name listed for this email account is “Luis Rodriguez.” The account was created
on September 11, 2007. This email contained the following statements6:

a. “i do not give a ft** about faggots getting married o_r faggots nrarrying iguanas.
What i do give f*** about is killing Hillary Clinton DEAD, so that bill clinton
does a have major problem taking the white house in 2016 or 2013. oreobama
gets re-elected and biden steps down so hillary and bill clinton won’t kill him or
oreobama. but if i KILL HILLARY CLlNTON and BILL CLINTON DEAD, he
will have a much harder time getting to the white house i will kill you DEAD

 

4 Based on studies and publications that l have reviewed, l know that a majority of mass shootings in
recent years have been carried out by individuals who have demonstrated signs of continuous behavioral
~ health issues and mental illness

5 The email address info@barackobama.com was used by the 2012 Obama Presidential Election
Campaign to disseminate and receive information from the public regarding the 2012 United States
Presidential election and is directly associated with Obama.

6 RODRIGUEZ’s emails are quoted verbatim throughout the affidavit with the exception of certain
expletives, which display only the first letter of the word; grammatical and spelling mistakes are in their
original form, Ellipses, however, indicate elisions in the text unless otherwise specified

10

 

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hillaryclinton i have a rabid and morbid hatred of you and bill clinton. i am more
than willing to risk and lose my life to kill you DEAD you stupid ignorant whore,
hillary clinton. i will step it up, by sending you letter bombs at the state
department and by sending letter bombs to the clinton foundation i will send you

anthrax in the mail you stupid c"‘**, hillary clinton.”

19. A second email string acquired by the USSS indicated that on May 10, 2012 at
approximately 11:15 a.m., an email with the subject line “Al Qaeda Bombmaker Designs Bombs
d to Hide in Cameras, Hard Drives and Pets _ ABC News” and containing a link to a news story
of the same title was sent from email address lrrodriguez3 @aol.com (“Subject Account 2”) to
luis.rodriguez40@yahoo.com (“Subj ect Account 3”). l have reviewed documents from America
l Online (AOL) regarding Subj ect Account 2, which indicated the name listed for this email
account is “Luis Rodriguez,” with an address of 23 701 S. Western Avenue, Torrance, CA (i.e.
the SUBJECT PREl\/HSES). As discussed below, this is the residence of RODRIGUEZ, where
he has been interviewed by law enforcement agents The account was created on September 11,
2007 (i.e. the same date as Subject Account 1). l have also reviewed documents from Yahoo!,
lnc. which indicated the name listed for Subject Account 3 is also “Luis Rodriguez.” This
account was created on November 11, 2007. Based on this information and my knowledge of
the`investigation, l believe that RODRIGUEZ often forwards information to himself between
various email accounts he controls

20. The above email was subsequently forwarded on May 10, 2012 at 11:47 a.m.
from Subj ect Account 3 to luisrodriguezl@gmx.com (“Subject Account 4”), Obama Campaign,

enews@clintonfoundation.org7 (“Clinton Foundation”), english@moqawama.orgg,

 

7 Enews@clintonfoundation.org is the email address associated with the website
wwww.clintonfoundation.org. According to the website, the Clinton Foundation was created in 2001 by

Former President Clinton to improve global health and to strengthen economics

11

 

 

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english@alqassam.psg, info@embassyofpakistanusa.org10, as well as additional email addresses
belonging to multiple foreign governments such as Syria, lraq, lran, Afghanistan, and Lebanon.
l have reviewed documents from the provider of Subj ect Account 4, Gl\/IX Internet Service, Inc.,
which indicated the name listed for Subj ect Account 4 is “Luis Rodriguez,” with a date of birth
that is the same as RODRIGUEZ’s This account was created on August 2, 2009. Based on the
above information and my knowledge of this investigation, l believe that RODRIGUEZ is the

user of Subj ect Accounts 1 through 4, and that he wrote and sent the emails described herein

from each of these accounts

21. The body of the email described in the previous paragraph contained the

following statements

a. “i took chemistry 2150 at ucla in spring of 97, BEFORE this f***ing c*** whore
Hillary clinton and bill clinton began to destroy my life.”

b. “i would love to help muj aheddin in bomb making and i would consider it an
honor to work for any jihadist cause, even though i am not a Muslim. i would
earnestly take ghoulish pleasure in designing better bombs that could target and
kill more americans any where in the world. i am doing this in retaliation for what
bill and hillary clinton did to me at harbor/ucla and what the bush clan did to me
during the bush years, where l have been a whipping boy of the executive branch,
while the people entrusted to protect my civil rights, the FBI and DGJ, sit on their
thumbs. i would love to help any jihadist cause in the assembly and engineering
of bombs and chemicals that could target and kill Americans...i hate the united
states with a great deal of apssion [passion] and would gladly leave the country
and render my services to any jihadist cause.”

 

8 English@moqawama.org is the email address associated with the website
www.english.rnoqawama.org. The website homepage displays the heading “Islamic Resistance in
Lebanon _ Offrcial Website” and the Hezbollah flag.

9 English@alqassam.ps is the email address associated with the Website www.qassam.ps. The website is
an English-language site for the IQB, which is the military wing of Harnas.

10 lnfo@ernbassyofpakistanusa.org is the email address associated with the website
www.embassyofpakistanusa.org, Which is the official website of the Islamic Republic of Pakistan.

12

 

 

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22.

“again, i am willing to help aNY muj aheddin int ehmaking of chemical biological
radioactive or conventional weapons i would considerit an honor to risk my life and
eevn lose my life by helping mujaheddin construct weapons that could harm

Americ_ans any where in the world.”

On l\/lay 11, 2012, RODRIGUEZ again forwarded the same email, this time from

Subject Account 3 to Subject Account 1. No additional text was contained in the body of that

email. Then, on the same date, RODRIGUEZ forwarded the entire email string yet again, from

Subj ect Account 1 to the Obama Campaign, and made additional statements in the body of the .

email, including the following:

3..

“This is for Hillary and Bill Clinton: lF you do anything like you did with me at
HarborfUCLA, Ann Marie Donnelly PhD, l will begin to send you DAlLY
DEATH THREATS and l wll send them to Homeland Security, and l wll NEVER
stop!. l will aslo begin filing regular complaints with the the FBI on line and l will
give them details on how l want FBI, ClA and law enforcement DEAD, along
with HILLARY and Bill Clintonl And l will NEVER stop! l was 35 when l called
the FBl in December of 98. l am approaching 49 and have endured great stress
and hardship so the f***ing c*** Hillary Clinton and her asshole pig husband Bill
Clinton can destroy my life and l do not even know WHY! So l will again
threaten to send anthrax through regular mail and letter bombs through regular
mail in order to kill Hillary Clinton at the State Department. l hate Bill and
Hillary Clinton enough where l do not care what happens.”

“Killing Hillary Clinton and Bill Clinton and inciting their assassinations by
Mujaheddin is worth dying for. l would love to see Hillary Clinton assassinated
with a bomb or polonium and l live solely for the purpose of killing Bill Clinton
with polonium[.] Killing George W. Bush is worth dying for also; as is killing
Barack Obama and his entire n***** and honky family.”

RODRIGUEZ stated that Roger Clinton11 had connections to the Gambino crime
family and indicated that he knew the community in which Roger Clinton livedlz.
RODRIGUEZ continued, “Tlrat is why l want Hillary Clinton and Bill Clinton to
be killed by l\/lujaheddin with polonium or VX gas and l am inciting their
assassinations”

 

ll Roger Clinton is the half-brother of Former President William Clinton.

12 l am aware that this community is readily accessible to RODRIGUEZ.

13

 

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d. “Since America denies me my civil rights, and law enforcemnet does not care, l
want to see America~_the USA_come under attack by Muj aheddin.”

23. A third email string acquired by the USSS indicated that on May 19, 2012 at
11:53 a.m., RODRIGUEZ sent an email message with the subject line, “3 face terror charges
after Chicago apt raid” from Subj ect Account 3 to Subject Account 1. On l\/lay 19, 2012 at
11:56 a.m., RODRIGUEZ forwarded this email from Subject Account l back to Subject Account

3 and then later forwarded it from Subj ect Account 3 to the Obama Campaign. This final email

contained the following statements

a.> “Luis Rodriguez
SSN# [xxx-xx]-l946 [RODRIGUEZ’$ true social security number]

CALIFORNIA DRIVER LICENSE C0614618 [RODRIGUEZ’s true California
driver’s license number]

23701 S. WESTERN AVE. TORRANCE CALIFGRNIA 90501-7007
SPACE #104 [i.e., SUBJECT PREMISES]

l HAVE NO PHONE.

LAW ENFORCEMENT SHOULD REFER TO ALL l\/lY PREVIOUS El\/lAlLS
BEFORE CGNATCTING l\/lE, PLEASE. l DON’T LIKE WASTING l\/lY Tll\/lE
BY HAVll\lG YOU ASK l\/IE STUPlD QUESTIONS. MY ENTIRE STORY
CHECKS OUT! !! l Al\/l THREATENING THE LlFE OF HlLLARY AND BlLL
CLINTON lN RETALIATIN FO_R HlS VlSlT TO HARBOR/UCLA ON 7/9/99.
l Al\/l ACCUSING THEl\/l OF BElNG BEHIND MY PROBLEMS AT
HARBOR/UCLA STARTING lN DECEMBER OF 98.”

b. “...l want you DEAD Hillary Clinton. l want to kill you DEAD like Barbara
Olson or Nicole Simpson. l prefer to kill you myself with a crowbar so l can bust
your fi‘**ing knee caps then break every ft **ing bone in your c***-faced whore
body. After that l would break open your fi‘ **ing skull to finish you off. l would
love to kidnap your c*** daughter Chelsea Clinton and make a snuff video of her
like what was done to Daniel Pearl. Then l would kill Bill clinton the same way l
want to kill Hillary Clinton. An acid bomb would also cause me to leap for joy,
you f"‘* *ing c`t” *'". l would love to help mujaheddin assemble an acid bomb to kill
you DEAD, Hillary Clinton and Bill Clinton. l WANT TO ASSASSINATE
BOTH OF YOU DEAD. l\/lujaheddin should concentrate their efforts on targeting
Hillary and Bill Clinton for death and mutilation. Chelsea Clinton killed in a
horific way would also be justifiable These pigs orchetsrated the 9/11 attacks and

14

 

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it allowed for the buthcery of tens of thousands of innocent Muslims. They, the
Clintons, should pay by being blown up or poisoned by any means necessary l
willing to help any Mujheddin from the Umma rn order to attck and kill Hillary
Clinton and Bill Clinton, as well as any other attacks on the USA and Israel.
George W Bush and his entire family should also be targeted for death by

l\/Iuj aheddin Barack Obama getting blown to hell along with his entire family
does not bother me However, it would end the Clinton’ s hopes for power by
killing'the Clintons DEAD first.”

E. 1 Interview With RODRIGUEZ

24. On June 5, 2012, USSS SA’s Andrew Zuk and Stephanie Hancock interviewed
RODRIGUEZ at his home, SUBJECT PREMISES (as indicated in the above email). l have

spoken to SA Zuk regarding the interview and reviewed his investigative report l learned the

following:

a. RODRIGUEZ readily confessed to sending threatening emails to the
Obama Campaign. RODRIGUEZ claimed his motivation for sending the emails was the loss of
his job at Harbor/UCLA Hospital in 2000. RODRIGUEZ believed he lost his job after voicing
his belief that Bill Clinton was involved in the O.J. Simpson murder investigation in an
unspecified role. RODRIGUEZ also made several claims that Hillary Clinton, Jimrny Carter,
Ronald Reagan, and George W. Bush were involved in harassment which had prevented him
from getting a job since 2000. RODRIGUEZ also expressed strong beliefs in several different
conspiracies involving the aforementioned individuals and organized crime RODRIGUEZ
claimed that as a result of the “evidence” he had uncovered during his Internet research
documenting these connections and conspiracies he was the victim of government-sponsored
harassment

b. RODRIGUEZ stated he sees a psychiatrist approximately once every three

months since being diagnosed with Attention Deficit Hyperactivity Disorder (ADHD).

15

 

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RODRIGUEZ stated he was compliant with the prescribed medications (Restoril and

Wellbutrin). RODRIGUEZ stated he has never been diagnosed with any mental illness other

than ADHD.

c. When questioned about his statement about Roger Clinton’s place of
residence, RODRIGUEZ stated he had conducted research on Wikipedia regarding Bill Clinton,
and learned of Roger Clinton’s residence RODRIGUEZ denied ever attempting to contact

Roger Clinton or learn his specific address

l d.‘ When questioned regarding the specificity of his emailed threats (the use
of polonium, etc.), RODRIGUEZ stated he mentioned the use of polonium because of his
previous experience working in chemistry labs RODRIGUEZ stated he did not possess any

knowledge regarding the actual construction of explosives or use of chemicals for violent

purposes

e. RODRIGUEZ stated he attended UCLA, majoring in chemistry and
Russian Literature. RODRIGUEZ described himself as an “almost graduate” of UCLA and
stated he had taken a law course at Harvard University.

f. RODRIGUEZ was cooperative throughout the interview and only became
agitated and angry when asked about the Clintons.

F. TOPIX Threats

25. On August 20, 2012, Diplomatic Security Services (DSS) SA l\/lichael Peart
provided USSS SA Adam Karnann a copy of an email sent on August 17, 2012 from Subject
Account 2 to the Clinton Foundation, as well as various embassies and consulates, including
those of Syria, Afghanistan, Pakistan, Lebanon, lordan, Iran, lraq, Kuwait, and Cuba, as well as

the email addresses associated with FTO’s such as Hamas, Hezbollah, and the Popular Front for

16

 

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the Liberation of Palestine. l have reviewed the`email, which contains the following additional

menacing statements regarding the Clintons

3..

26.

“lf you Google ‘kill Hillary Clinton Dead Topix’, you will see the postings that I
have been posting for MONTHS! I have also posted ‘Kill Bill Clinton at the

l Hollywood Bowl’ On the Washington DC Forum of Topix.l t vanished for some

straneg reason. More clintonian cover ups l am sending this email in order to
establish a pttern of abuse and cover up by the criminal justice system. My
motivation for inciting the assassinations of American presidents and their
families as well as inciting acts of terrorism against the USA is to exact revenge
for what Bill and Hillary Clinton did of me going back to late 98, and what was
doen to me BEFORE, DURING, and AFTER Bill Clinton’s visit to
Harbor/UCLA on 7/9/99...1 want to incite the deaths of more USA troops and
citizens the world over. l want to incite the assassination of Hillary and Bill
Clinton. l HAVE TURNED TO lNClTlNG TERRORISM AGAINST TI-IE USA
BECAUSE THE A_l\/IERICN LEGAL SYSTEl\/l HAS ALLOWED THE
Al\/IERICAN PRESIDENTS TO DESTROY MY LIFE AND DERPIVE ME OF
JUSTIC! THEREFORE, MUJAHEEDIN SHOULD KILL MORE
AMERICANS...I WANT TO FUTRHER INCITE MUJAHEEDIN TO KILL
BILL AND HILLARY CLINTON DEAD. l Al\/l WlLLlNG TO HELP ANY
MUJAHEDDIN WITH l\/lAKlNG BOMBS TO KILL AMERICANS IN A
CHEMISTRY LAB! 1 HAVE THE EDUCATION THAT WAS RUINED BY
THE CLINTONS. l COULD HAVE BEEN ON WALL STREET OR IN THE
OlL BUSTNESS. BlLL AND HlLLARY CLlNTOl\l MADE l\/lE THEIR
WETBACK FOR LlFE. l WANT THEl\/l ASSASSINATED! l WOULD LOVE
TO SEE CHELSEA CLINTON ASSASSINATED FIRST SO THEY CAN

SUFFER MORE! ! ! !”
l conducted a Google search of “Kill Hillary Clinton Dead Topix” and located a 4

thread titled “Kill Hillary Clinton DEAD” in the “Washington, DC Forum” of www.topix.com13.

The thread contained the following information:

a. The first post was dated October 24, 2011. The poster’s name was

“Atomic Jihad” from “Los Angeles” The post from Atomic Jihad stated the following: “That

 

l Www.topix.com rs a discussion board website which allows posters, using anonymous accounts, to
comment on news articles and initiate discussions of various topics

17

 

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bitch has destroyed the lives of plenty of people She enjoys destroying lives and degrading
people, reducing them to PERMANENT second-class citizens through eexecutive orders, then
establishing indirect contact to communicate with them so they can not prove her abuse They
are denied justice She uses subtle hints and suggestions demanding that they bow to her will. lf
Chelsea Clinton, her only daughter, were killed first it would make an example of this monster
of ego.i would be extraodrinary joy for many to see the Clintons attend the funeral of their only
daughetr, Chelsea Clinton. Thye have ruined, tortured and tormented the lives of many

individuals inside the US without any access to justice This calls for violent overthrow of the

established order by assassination.”14

b. On March 12, 2012, a user posting under the name “Kill Chelsea Clinton”
in “Los Angeles, CA,” quoted “Atomic Jihad’s” post and responded as follows “killing chelsea
clinton, then waitingfor a while to kill billary clinton would make an example of them. The next
time an American political dynasty does that to people inside usa soil with the FULL

KNOWLEDGE of the justice dpartment they KNOW they will pay a heavy price...”

c. On April 21, 2012, a poster named “Luis Rodriguez” from “Los Angeles,
CA” posted that he was “Atomic Jihad” (and also the user posting under the name “lslamic
Jihad”) and that he was the one who started the thread. The poster then wrote several convoluted

statements related to the O.J. Simpson case, the Gambino crime family, and the Clintons The

poster also wrote the following:

 

14 ln response to this post another user posting under the name “Reality Check” wrote, “Threatening the
government officials of the United States is a serious crime under federal law. Threatening the President
of the United States is a Class D felony under 18 U.S.C. § 871, punishable by 5 years of imprisonment

that is investigated by the United States Secret Service...Threatening federal officials’ family members is

also a federal crime.”

18

 

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i. “l want to kill Bill and Hillary Clinton in a horrific way. The FBI does not
answer my complaints because of Bill and Hillary Clinton... l am publicly
inciting ~j ihadists and l\/luj aheddin to kill and Hillary Clinton for what they
did to me You can post all sorts of sarcastic dribble calling me a nut l
don’t care Report it to Homeland Security or the Secret Service if you
have any balls They know where to find me 1 have been denied justice
l DO NOT believe in forgiving or turning the other cheek. l believe in
exacting revenge l would love to help any l\/luj aheddin who wants to
target and kill Bill and Hillary Clinton or George W. Bush for what they
did to me for decades 1 prefer to kill Hillary clinton FIRST so Bill
Clinton will have a harder time getting into the White House. l would
love to see Hiallry Clinton dismembered or chocke on vx gas i would be
willing to help jihadists poisn Bill Clinton with polonium radio isotope so
he can die like Alexander Litvenienko.15 1 have the educational

background to do all this”
d. Continuing on April 21, 2012, another post posted under the username
“Luis Rodriguez” stated that the user used to live at ‘°829 N. Alta Visa, LA California, 90046.”16
ln addition, the post contained the following statements “When l moved back to Torrance
George W. Bush visited Robinson helicopetr in Torrance in late january fo 2008,17 just four days
AFTER i activated my library records at Torrance public library. Look at my library records
Pleasea do not bother me with stupid questions l am NOT armed or violent 1 prefer using

science to kill Bill and Hillary Clinton and George W. Bush.”

 

15 Alexander Litvenienko was a former officer of the Russian Federal Security Service ln 2006,
Litvenienko died unexpectedly and under suspicious circumstances lt was later determined that

Litvenienko died of polonium poisoning
16 829 N. Alta Vista Blvd. #33, Los Angeles, CA 90046 was listed as one of RODRIGUEZ’s prior
addresses on his credit report .

17 According to USSS records, 1 know that on January 30, 2008, Former President George W. Bush
visited Robinson Helicopter Company in Torrance, CA.

19

 

 

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G. ' FBI Investigation
27. On October 30, 2012, FBI and Los Angeles Police Department (LAPD) personnel

spoke with RODRIGUEZ at SUBJECT PREMISES. l reviewed the FBI’s investigative report

and learned the following:

a. RODRIGUEZ admitted that he sent emails to Obama and Clinton
threatening their lives RODRIGUEZ said that Bill and Hillary Clinton were responsible for
getting him fired from his job as a pharmacy technician at the Harbor-UCLA l\/ledical Center and
he continues to be extremely upset over the injustices the Clintons and the United States have
perpetrated upon him. y

b. RODRIGUEZ admitted he has posted Facebook messages encouraging
terrorist organizations to attack the United States, and has sent email messages to Hezbollah,
Hamas, and foreign governments such as Pakistan and lran encouraging them to commit terrorist
acts against the United States RODRIGUEZ explained that the emails are means to embarrass
the United States and to force the issue of the United States federal government paying attention
to his complaints When asked to explain the significance of the groups he emailed and
referenced on his Facebook page and in Facebook comments RODRIGUEZ explained that
Hezbollah is a Lebanese terrorist organization and that Hamas operates in the occupied territories
and stands for the lslamic Resistance l\/lovement.

28. The FBl obtained search warrants for Subj ect Accounts 1 through 4, from .or
through which RC)DRIGUEZ sent the above-described communications The results of these

search warrants revealed, among other things, that RODRIGUEZ sent multiple emails to Al

20

 

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Qaeda in the Arabian Peninsula’s ]nspz're l\/lagazine18 in 2012 using Subject Account 3. These
emails to ]nspz`re included his promises to “do more scouting of the jewish center in lomita for a
firebomb and greande attack as well as drive by shootings by muj aheddin,” and confessions that
“dying for a martydrom mission that will kill and injure thousands of americans is an honorable
death for me.” Further, RODRIGUEZ stated in his emails to Inspire that it would give him
“great pleasure to go on a martyrdom mission targeting an fbi office or federal building filled
with fbi agents” RODRIGUEZ also stated that he would “1ove” to go on a martyrdom mission to
kill Jenna and Barbara Bush, and he would be “willing to do a martydrom mission to kill chelsea
clinton and sasha and malia oabama.” `

29. Beginning in November 2012, FBI Employee #1 engaged in email
correspondence with RODRIGUEZ. RODRIGUEZ used Subj ect Account 3 for the email
communications with FBI Employee #l. The content of the emails sent by RODRIGUEZ to FBI
Employee #1 is consistent with those he sent to the Obama Campaign, the Clinton Foundation,
and the other recipients in l\/lay 2012, described above ln the emails RODRIGUEZ complained
of abuse and mistreatment he feels he received at Harbor-UCLA l\/ledical Center; expressed a
desire to have terrorists attack the United States Clinton and his family, Bush and his family,
and Obama and his family; offered his assistance to terrorists groups such as Hezbollah, Hamas,

and Al Qaeda, and in particular said that science courses he took in college would assist him in

 

18 l know from my training and experience and publicly available information, that Al Qaeda in the
Arabian Peninsula (“AQAP”) is a designated Foreign Terrorist Organization; AQAP is a Sunni extremist
group based in Yemen that has orchestrated numerous high profile terrorist attacks on the United States
and United States interests l know from reviewing issues of Inspire Magazine, from speaking with other
law enforcement experts and from publicly available information, that Inspz're is published by AQAP,
and that it dedicates portions of most editions to “how-to” instructions for creating explosives and other
weapons and carrying out attacks Inspi`re focuses on audiences living in Western nations and provides

target selection and operational security suggestions

21

 

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making bombs; and expressed his desire to incite an attack against the United States with the use

of chemical, biological, and nuclear weapons and to die as a martyr. ln his correspondence with

FBI Employee #1, RODRIGUEZ also expressed the desire to perpetrate attacks using smallpox,

a highly contagious and resistant virus that according to the Centers for Disease Control and

Prevention (“CDC”), is considered a potential bioterrorism agent

30.

ln one of RODRIGUEZ’s emails to FBI Employee #1, on November 29, 2012, he

stated the following:

3..

31.

“l would love to kill Bill Clinton and Hillary Clinton with a crowbar and smash
all their bones into jelly. l would love to incinerate the house of George W. Bush
with flame throwers while he and his family are inside 1 would take ghoulish
pleasure in killing Barack Obama and his entire family with nerve gas or
weaponized anthrax. He continues to torment me because Bill and Hillary Clinton
have threatened him with assassination if he does not go along with their
ideas...The world would be a much better place with Bill and Hillary Clinton

DEAD!”
ln another email to FBI Employee #1, on December 4, 2012, RODRIGUEZ wrote

the following statements

El.

“l want to BURN CHELSEA CLlNTON ALIVE ll\l FRONT OF BlLL AND
HILLARY CLINTON THEN POISON THEM WITH POLONUll\/l RADIO
ISOTOPE LIKE WHAT HAPPENED TO ALEXANDER LlTVENlENKO. 1
WAS FINANCIALLY EVICTED BY KONSTANTIN GOLDENBERG AFTER
HE HAD DINNER WITH GEORGE W. BUSH. l WANT TO POISON HIS
DAUGHTERS WITH SMAL PDX OR POLONIUM, LIKE l WANT TO KILL
SASHA AND MALIA OBAl\/IA.”

“l was inciting Pakistan to kill Americans through regular mail from 2006 2007.”

“l began by contacting Chiria in person at their consulate in Los Angeles in early
2000. l subsequently gave China a hit list of people to kill, including my family
and former friends as well as people from Harbor/UCLA.”

“l have contacted many nations including Iran, Syra, and Pakistan through
regular mail and emails over the last 12-13 years”

22

 

 

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32. On January 23, 2013, RODRIGUEZ emailed FBI Employee #1 and wrote:

a. “l want to kill sasha and malia obama with my bare hands i would love to beat
them to death with a crowbar in front of the oreo boy barack obama. i woukld
love to get barbara bush pregnant as she is and jenna bush and beat them to detah
with baseball bats in front of george w. bush then beat them all to death with my
bare hands i would love to murder them and spend hours beating them death and
cracking open all their skulls bill and hillary clinton should have all their bones
broken before cracking open their skulls after they witnesses chelsea clinton beath

to death with a tire iron.”

33. Through the email correspondence RODRIGUEZ advised FBI Employee #l that
he conducted reconnaissance and prepared attack plans on numerous targets including the
F ederal Building in West Los Angeles,v the World Trade Center in Long Beach, the F ederal
Building in Long Beach, Fort McArthur in San Pedro, police stations throughout the Los
Angeles area, the Harbor-UCLA Medical Center in Torrance, the Los Angeles subway system,
and the Los Angeles freeway system. RODRIGUEZ described how he would like to attack these
targets employing “l\/Iumbai-style”19 tactics and with the use of grenades machine guns
explosives nuclear devices and chemical and biological agents RODRlGUEZ also offered to
scout additional targets in the South Bay and Los Angeles areas and indicated that he is willing
to work with terrorist organizations to make bombs

34. ln one of his emails to FBI Employee #1, on December 4, 2012, RODRIGUEZ
stated that he had “scouted the World Trade Center in Long Beach and federal building next to it
for attacks by l\/luj aheddin with grenades and machine guns.” He continued as follows

a. “l have done extensive surveys of the subway system in the LA area for attacks
with grenades explosives and,possible chemical or biological agents I have also
poroposed plans to attack various police stations in the LA area and have also

 

19 l know from publicly available information that in'November 2008, an lslamic terrorist group,
Laslikar-e-Taiba, conducted twelve coordinated shooting and bombing attacks across Mumbai, lndia
over the course of four days in which 166 people were killed and over 300 people were wounded

23

 

 

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done extensive surveys of Fort McArthur in San Pedro. Some of these attacks can
be carried out like Mumbai. However, l want to make one thing clear. l am not
one of those people who go around shooting up the town as a crime of passion 1
am doing this and am willing to help l\/luj aheddin in the SAME spirit as Timothy
l\/lcVeigh did when he blew up a federal building in Oklahoma City, Oklahoma§ l
am willing to die in amartydriom mission using explosives that coudl kill and
mutilate Arnericans like Oklahoma City. What Hezbullah did to the Marine
barracks in Lebanon in the eraly 80s was tremndou and glorious achievement by
Muj aheddin. l would love to help Muj aheddin with my skills in chemistry and
help them assemle bombs that woudl kill and mutilate Americans on a horrific

scale.”

35 . ln an email to FBl Employee #l on December 20, 2012, RODRIGUEZ elaborated
on his plan to attack the Los Angeles subway system. RODRIGUEZ mentioned that his
roommate had a friend who did security work for the Los Angeles subway system. According to
the friend, most of the subway security camera operators spend their time looking at
pornography instead of monitoring the security cameras RODRIGUEZ said that he believed it
would be easy to spread chemicals or biological diseases in the subway system.

36. ln other emails to FBI Employee #1, RODRlGUEZ-expressed a willingness to
meet with “brothers” to help them conduct c‘violent lihad.” He_ coordinated with FBl Employee
#1 via email to meet on March 5, 2013 with a man he believed to be such a person. This
individual actually was another FBI employee (“FBl Employee #2”). According to my
discussions with FBI agents and Task Force Officers and the FBI reports l reviewed of the
meeting, when RODRIGUEZ met with FBI Employee #2, RODRIGUEZ discussed targeting
3 multiple locations including Fort MacArthur in San Pedro, California, the F ederal Building in
Long Beach, California, and the World Trade Center in Long Beach, California RODRIGUEZ
expressed his opinion to FBl Employee #2 about the best time to carry out an attack on the
World Trade Center and the F ederal Building in order to kill the most people ln addition,

RODRIGUEZ told FBl Employee #2 several times during the meeting that he wanted “revenge”
24

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and wanted to create “horror” from the attacks RODRIGUEZ also stated he wanted to conduct
an attack like “Timothy McVeigh.” RODRIGUEZ mentioned about his background in
chemistry and that he needed funding and materials to put together improvised explosive
devices l

37. On March 21, 2013, RODRIGUEZ emailed FBI Employee #1 and volunteered
“to take pictures of potential targets for attacks and load them onto my emails” adding, “l have
flash sticks and plenty of CDs.”

38. On April 13, 2013, RODRIGUEZ emailed FBI Employee #1 and stated, the
following: l v

a. “i will start tomorrow in taking pictures with his camera20 at fort mac arthur and
try to get the federal building pictures done soon after. these are targets i have
been doing surveys on for quite a while after i send u pix of these targets i will
begin to photograph the other targets like the israeli consulate, Torrance police
and city hall, redondo beach police and city hall, santa monica police, LAX and
airport police targets and i will take ghoulish pleasure in photographing the
federal building on sepulveda and wilshire . ..”

39. The FBI was notified that Department of Defense (DOD) Police conducted a
pedestrian stop of RODRIGUEZ on April 21, 2013 when he was observed taking photographs of
the Fort l\/lacArthur perimeter walls and gates RODRIGUEZ told the DOD Police he was a
sketch artist and he was taking photos of the base because it is a historical location. l`he DOD
Police officer asked RODRIGUEZ if he could see the photos he took and RODRIGUEZ agreed.
The officer observed`the photos were of the walls gates spikes on top of the wall, and a
turnstile. None of the photos appeared to be artistic or of anything historical so the DOD Police

officer requested RODRIGUEZ’s permission to erase the photos and RODRIGUEZ agreed

 

20 ln RORIGUEZ’s previous emails to FBI Employee #l, RODRIGUEZ mentioned using his
roommate’s camera to take the surveillance photographs

25

 

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40. - RODRIGUEZ described this incident to FBl Employee #l via email, stating that
he was caught taking reconnaissance photos for possible “dirty bomb” or “Mumbai style” attacks
on Fort MacArthur. RODRIGUEZ described where “muj ahedeen” could obtain better vantage
points of the military base while avoiding detection, and promised to do additional
reconnaissance work on the federal building on Wilshire Boulevard and the World Trade Center
in Long Beach.

j 41. On May 12, 2013, RODRIGUEZ emailed FBI Employee #l a photograph
depicting what he described as one of the corners of the Federal Building in Long Beach where a
security camera was in operation.' ln the same email, RODRIGUEZ stated that this was only the
first of a series of photos that he “plans to take on your behalf so that you will attack and kill
federal agents and other American swines that terrorize the ummah and denigrate muslims.”

42. On May 15, 2013, RODRIGUEZ sent FBI Employee #1 three emails with twenty-
two photographs of the World Trade Center and Long Beach Federal Building attached ln one
of the emails RODRIGUEZ stated, “the target would be easy to hit with a car loaded with a
powerful bomb that would detonate the fueling station and hopefully cause an inferrio that would
set the entire block on fire.”

43.4 ln another email from May 15, 2013, RODRIGUEZ stated the following:

a. “l did this the Sunday after l was caught by department of defense police, taking
pictures of fort mac Arthur. They were very disturbed because l had taken pix of
all the entrances and they said it could be used for terrorism purposes This was
the Sunday after the mujaheddin struck these American pigs in boston on 4/15/13.
l plan to go back and do more detailed photos for you and the brothers in the
ummah so that you can develop a better plan of attack. l thought it would be most
important to take pictures of the security cameras between the world trade center
and the federal building The bust stop in front of the federal building has security
cameras so l refrained from taking more pictures until l could delete the old
ones so it would not attract attention If l get caught taking pictures of the

26

 

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federal buildings after getting caught at fort mac Arthur, it would arouse
suspicion l wanted to be extra careful after getting caught at fort mac Arthur
and the military police telling me to my face they feared my pix of for mac _
Arthur could be used for terrorism. l am more determined than ever to go
forward with the sheikh’s plan to attack the usa.” ii

44. on May 19, 2013, and May 21`, 2013, RoDRiGUEz Seni FBi Employee #1 two
separate emails with a total of twenty-two photographs of the Long Beach performing arts center
and the surrounding area. ln the May 21, 2013 email, RODRIGUEZ stated, “l took photos of the
front and sie of the building to give Amuj aheddin shoting angels and possible places to plant
bombs like the boston attck on 4/15/13.”

H. Physical Surveillance of RODRIGUEZ

45. Since October 2012, the FBI, with assistance from LAPD and Torrance Police
Department (TPD), has conducted numerous physical surveillances of RODRIGUEZ.
According to the surveillance reports that l have reviewed, RODRIGUEZ’s daily routine largely
consists of going to various libraries throughout Los Angeles County and using the publicly
available computers RODRIGUEZ spends time on the computers composing emails and
regularly prints out documents including his emails from the computers

46. On November 29, 2012, TPD personnel initiated surveillance at SUBJECT
PREl\/IISES.y TPD personnel observed RODRIGUEZ leave SUBJECT PREMISES at
approximately 11:14 a.m. and walk to the Los Angeles Public Library located at 24000 Western
Avenue, Harbor City, CA.

a. RODRIGUEZ sat down at computer terminal #3 and logged into his

Yahoo email account Shortly thereafter, RODRIGUEZ was observed writing an email. After

27

 

 

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approximately an hour and half, a TPD detective observed RODRIGUEZ printing out several
pages from the printer.21

b,. The detective observed RODRIGUEZ leaving the location; RODRIGUEZ
was seen carrying the papers he had printed out TPD personnel followed RODRIGUEZ on foot
and discontinued the surveillance after RODRIGUEZ was seen going into his mobile home park
and towards SUBJECT PREMISES.

47. On December 26, 2012, TPD personnel initiated surveillance at SUBJECT
PRESl\/IISES. TPD personnel observed RODRIGUEZ leave SUBJECT PREMISES and walk to
the City of Lomita Library located at 24200 Narbonne Avenue, Lomita, CA.

a. RODRIGUEZ sat down on computer terminal #1 and logged into his
Yahoo email account As RODRIGUEZ was reading the email, he appeared elated and was
pumping his fist RODRIGUEZ then printed an email from the Yahoo account

b. A TPD detective then saw RODRIGUEZ compose an email on the Yahoo
account At approximately 1:15 p.m., RODRlGUEZ printed an email from the Yahoo account22
RODRIGUEZ continued using the computer for approximately 30 minutes birt was seen
constantly reading the earlier printed email from the Yahoo account

c. RODRIGUEZ left the location at approximately 1:53 p.m. TPD personnel
followed RODRIGUEZ on foot and discontinued the surveillance after RODRIGUEZ was seen

going into his mobile home park and towards SUBJECT PREMISES.

 

21 As described above, RODRlGUEZ sent FBl Employee #l an email on November 29, 2012 at 1:17
p.m. via his Yahoo email account The email contained threats against various USSS protected

individuals
22 Based on the review ofthe¥email correspondence between FBI Employee #l and RODRIGUEZ, l
know that RODRIGUEZ sent an email from his Yahoo account to FBI Employee #1 on December 26,

2012 at 1:10 p.m. In the email, RODRIGUEZ proposed attacking the Jewish Center in Lomita, CA and
“Mumbai-style” attacks on the Palos Verdes Shopping Mall and the Del Amo Mall in Torrance, CA.

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48. Based on my training and experience and the above-described observations l
believe that RODRIGUEZ prints out and retains copies at SUBJECT PREMISES of his email 4
communications including communications relating to his desires to harm or kill USSS

protected individuals

VII. CONCLUSION
49. Based upon the facts set forth above, l believe there is probable cause to believe
that LUIS RICARDO RODRIGUEZ has committed a violation of Title 18, United States Code,
Section 879, knowingly and willfully threatening to kill or inflict bodily harm upon a former
President or immediate family member of the President or of any former President l l
additionally submit that probable cause exists for a search warrant allowing the search of

SUBJ'ECT PREMISES for the items to be seized as set forth in Attachment B.

 

JAY C. HUANG
Special Agent
United States Secret Service

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